             Case 2:13-cv-20000-RDP Document 6 Filed 01/09/13 Page 1 of 2                                      FILED
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                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA
                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

                                                   }
                                                   }
                                                   }
IN RE: BLUE CROSS BLUE SHIELD                      }
ANTITRUST LITIGATION                               }          Master File No.: 2:13-CV-20000-RDP
(MDL No.: 2406)                                    }
                                                   }            This document relates to all cases.
                                                   }
                                                   }

                          CASE MANAGEMENT ORDER NO. 1
                       REGARDING INITIAL STATUS CONFERENCE

I.      Initial Status Conference

        A.      This matter is SET for a status conference at 9:30 a.m., Thursday, February 21,

2013, in Courtroom 7A at the Hugo L. Black United States Courthouse, 1729 5th Avenue North,

Birmingham, Alabama.

        B.      To minimize costs and facilitate a manageable conference, parties are not required

to attend the conference, and parties with similar interests are expected to agree to the extent

practicable on a single attorney to act on their joint behalf at the conference. A party will not, by

designating an attorney to represent its interests at the conference, be precluded from other

representation during the litigation. Counsel for persons or entities who are not named as parties

presently, but may be later joined as parties or are parties in related litigation pending in other federal

and state courts, are welcome to attend the conference.

        C.      The court will issue further orders about the development of an agenda for the status

conference.

II.     Responsive Pleadings Discovery

        A.      As noted above, the MDL Proceedings are set for a status conference on February 21,

2013. Pending that status conference, deadlines for responsive pleadings, outstanding discovery, and
             Case 2:13-cv-20000-RDP Document 6 Filed 01/09/13 Page 2 of 2


motions practice in the MDL Proceedings, and any tag-along or directly filed actions over which this

Court acquires jurisdiction, are STAYED. No further discovery shall be initiated until further order

of this Court.

        B.         Each party shall take reasonable steps to preserve documents and other records,

including electronic documents, containing information potentially relevant to the subject matter of

this litigation.

III.    Miscellaneous

        A.         The Clerk of Court will maintain a master docket case file under Case No. 13cv20000

captioned In Re: Blue Cross Blue Shield Antitrust Litigation, with the identification “MDL 2406.”

When a pleading is intended to be applicable to all actions, this shall be indicated by the words “This

Document Relates to All Cases,” as demonstrated by the caption of this Order. When a pleading is

intended to apply to a specific case, it shall be filed in that specific case and not on the master docket.

        B.         Any attorney admitted to practice and in good standing in any United States District

Court is admitted pro hac vice in this litigation and association of co-counsel for purposes of filing

and/or litigation, including direct filing, is not required. To the extent not already done, any attorney

representing a party in this action must register for and have a CM/ECF login name and password

for this District.

        DONE and ORDERED this                8th        day of January, 2013.


                                                         ___________________________________
                                                         R. DAVID PROCTOR
                                                         UNITED STATES DISTRICT JUDGE




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